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 1    PRISON LA W OFFICE                                         ROSEN, BIEN & GALVAN, LLP
      DONALD SPECTER Bar No.: 83925                              MICHAEL W. BIEN Bar No.: 096891
 2    STEVEN FAMA Bar No.: 99641                                 JANE E. KAHN Bar No.: 112239
      ALISON HARDY Bar No.: 135966                               AMY WHELAN BarNo.: 215675
 3    VIBEKE NORGAARD Bar No.: 209499                            LORI RIFKIN Bar No.: 244081
      E. IVAN TRUJ1LLO Bar No.: 228790                           SARAH M. LAUBACH Bar No.: 240526
 4    RACHEL FARBIARZ BarNo.: 237896                             315 Montgomery Street, 10th Floor
      General Delivery                                           San Francisco, California 94104
 5    San Quentin, California 94964                              Telephone: (415) 433-6830
      Telephone: (415) 457-9144
 6
     BINGHAM, McCUTCHEN, LLP                                     HELLER, EHRMAN, WHITE &
 7   WARREN E. GEORGE Bar No.: 53588                             McAULIFFE
     Three Embarcadero Center                                    RICHARD L. GOFF Bar No.: 36377
 8   San Francisco, California 94111                             70 I Fifth Avenue
     Telephone: (415) 393-2000                                   Seattle, Washington 98104
 9                                                               Telephone: (206) 447-0900
      THE LEGAL AID SOCIETY-
10    EMPLOYMENT LAW CENTER
      CLAUDIA CENTER Bar No.: 158255
II    LEWIS BOSSING Bar No.: 227402
      600 Harrison Street, Suite 120
12    San Francisco. CA 94107
      Telephone: (415) 864-8848
13
     Attorneys for Plaintiffs
14
                          INrI-IE UNITED STATES DISTRICT COURTS
15                       FOR THE EASTERN DISTRICT OF CALIFORNIA
16                      AND THE NORTHERN DISTRICT OF CALIFORNIA
                 UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
17
                  PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
18
     RALPH COLEMAN, et a!.,                                  )   No.: Civ S 90-0520 LKK-JFM P
19                                                           )
                    Plaintiffs,                              )   THREE-JUDGE COURT
20                                                           )
           vs.                                               )
21                                                           )
     ARNOLD SCHWARZENEGGER, et a!.,                          )
22                                                           )
                    Defendants                               )
23                                                           )
     MARCIANO PLATA ,et a!.,                                 )   No. COI-1351 THE
24                                                           )
                    Plaintiffs,                              )   THREE-JUDGE COURT
25         vs.                                               )
                                                             )
26 ARNOLD SCHWARZENEGGER, et a!.,                            )   PLAINTIFFS' FIRST SET OF
                                                             )   INTERROGATORIES TO SHERIFF
27         vs.                                               )   AND PROBATION INTERVENOR-
                    Defendants                               )   DEFENDANTS
28
                                                              -1-
                 PLAINTIFFS' FIRST SET OF INTERROGATORIES TO SHERIFF AND PROBATION INTF:R VENOR·DEI·'ENDANTS,
                                            NOS. CIV S 90-0520 LKK-JFM, COI-IJ51 THE
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 1   PROPOUNDING PARTIES:                     Plaintiffs Marciano Plata et al.

 2   RESPONDING PARTIES:                      Sheriff and Probation Intervenor-Defendants

 3   SET NUMBER:                              One

 4           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 5           PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure Rule 33, Plaintiffs

 6   Marciano Plata et al. submit the following First Set of Interrogatories to Intervenor-Defendants

 7   William B. Kolender et al. (combined, the "Sheriff and Probation Intervenor-Defendants") to be

 8   answered separately and fully in writing, under oath, based upon all knowledge reasonably available to

 9   them, within 30 days after service hereof.

10                                                    DEFINITIONS

11           1.       "DOCUMENT" or "DOCUMENTS" as used herein is intended to have the broadest

12   possible meaning and to include anything coming within the definition of "writings" and "recordings"

I3   as set forth in Rule 1001(1) of the Federal Rules of Evidence. The term refers to but is not limited to

14   the product of any method of recording information, whether hy writing or otherwise, including

15   without limitation: any written, electronic, or computerized files, data or software; memoranda;

16   correspondence; communications; reports; summaries; studies, analyses; evaluations; notes or

17   notebooks; indices; logs; books, booklets or binders; pamphlets; calendar or diary entries; ledger

18   entries; press clippings; graphs; tables; charts; drawings; maps; meeting minutes; photographs;

19   transcripts; audio or video recordings or tapes; facsimile transmissions; electronic mail messages; and

20   the like. "DOCUMENT" shall include each copy of any whole or part of a document on which there

21   appears any marking or deletion which does not appear on the original or other copies thereof; together

22   with all drafts or notes for the preparation of each document. If the original of a document is not

23   available or was not reviewed or received by a particular PERSON, "DOCUMENT' includes any

24   identical copy of the original.

25           2.       "PERSON" as used herein means natural persons, corporations, partnerships,

26   governments (or governmental agencies), units of government, quasi-public entities, and all other

27   forms of legal entities.

28
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                  PLAINTIFFS' FIRST SET OF INTERROGATORIES TO SHERIFF AND PROBATION INTERVENOR-DEFENDANTS.
                                            NOS. elv S 90-0520 LKK-JFM. eOI-1351 THE
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               3.       "YOU" and "YOURS" as used herein means any and all of Sheriff and Probation

 2   Intervenor-Defendants, their agents, representatives, attorneys, and all other PERSONS acting on their

 3   behalf.

 4             4.       As used herein, the terms "identify," when used with respect to a person, mean to state

 5   the following: name of entity; telephone number; location of its business and nature of its business.

 6             8.       As used herein, the terms "identify," when used with respect to a document, mean to

 7   state the following, if available, for each document: the name(s) of the author(s) and the recipient(s);

 8   the date; the title; the form of document (e.g. letter, memorandum, report, chart or other descriptive

 9   term); a description of the contents of the document; and its present or last known location and

10   custodian. If you claim that any such document was, but is no longer, in your possession or subject to

11   your control, state what disposition was made of such document and when. Documents to be identified

12   shall include both documents in your possession, custody and control, and all other documents of

13   which you have knowledge. To the extent that the answers to the preceding questions are determinable

14   by an examination of the document itself, you may respond by supplying such document as part of

15   your answers to these interrogatories so long as you identify the interrogatory to which such document

16   IS responSIve.

17             3.       "Refer" or "relate to" means constituting, representing, defining, depicting, concerning,

18   embodying, reflecting, identifying, stating, mentioning, addressing, or pertaining to the subject matter

19   of the request, directly or indirectly, in whole or in part.

20             4.       The terms "and," "or," and "and/or" should be construed disjunctively or conjunctively

21   as necessary to make the request inclusive rather than exclusive.

22             5.       "ALTERNATIYE PLACEMENT PROGRAMS" means any program provided for

23   persons released or diverted from jail, including but not limited to any treatment programs for persons

24   with mental illnesses, community aftercare programs, substance abuse programs, work furlough

25   programs, electronic monitoring, home detention, or supervised release.

26   II

27   II

28   II
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                    PLAINTn:ps' FIRST SET OF INTERROGATORIES TO SJ-lERIFF AND PROBATION INTERVENOR~DEFENDANTS,
                                              NOS .. elV S 90~0520 LKK-JFM, COl-135l THE
      Case 2:90-cv-00520-KJM-SCR               Document 3434-8              Filed 12/23/08         Page 5 of 13



  1   Dated:                                                    Respectfully submitted,
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  4                                                             Vibeke   NoC•ggaardMartin
                                                                Prison Law Office
  5                                                             Attorneys tbr Plaintiffs
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               PLAINTIFFS' FIRST SET OF INTERROGATORIES TO SHERIFF AND PROBATION        INTERVENOR-DEFENDANTS,
                                            NOS.: C1V S 90-0520 LKK-JFM, C01-t351 THE
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                JONES & MAYER
                Martin J. Mayer (SB #.73890)
                Michael R. Capizzi (SB # 35864).
                Kimberly Hall Barlow (SB # 149902)
                Ivy M. Ysai (SB # 223168)
                3777 North Harbor Boulevard
          4     Fullerton; California 92835
                (714) 446-1400; Fax (714).446-1448
          5     e-mail:     mjm,•.jones-mayer.com
                e-mail: mrci•jones=mayer.com
          6     e-mail: ldib•.jones-mayer.com
                e-mail:.imt@jones-mayer.com
                Attorneys for Sheriff, Police Chief, and
       8        Chief Probation Intervenor-Defendants


      10                                IN THE UNITED       STATES DISTRICT COURTS
     11                               FOR THE EASTERN DISTRICT-OF 'CALIFORNIA
   12                               AND THE NORTHERN DISTRICT OF CALIFORNIA
   13                  UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
   14                    PURSUANT TO SECTION 2284, TITLE 28 .UNITED STATES CODE
  15
               RALPH         COLEMAN, et al.,                     Case No: CIV S•90-0520 LKK JFM P
  16
                                Plaintiffs,                       THREE-JUDGE COURT
  17
                       VS.
  18
  i9
              ARNOLD          SCHWARZENEGGER, et
              al.,
  20                             Defendants.
 21
                                                                 [F.R.C.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
 22
                                                                 Case No..: C01-135t TEH
 23           MARCIANO PLATA, et al.,
                                                                 THREE-JUDGE COURT
 .24                            Plaintiffs,
                                                                 INTERVENOR-DEFENDANT AMADOR
25                    VS.                                        COUNTY SHERIFF'S RESPONSES TO
                                                                 PLAINTIFFS' FIRST SET OF
 26           ARNOLD          SCHWARZENEGGER, et                 INTERROGATORIES
              al.,
 27
                                Defendants.
 28

                INTERVENOR-DEFENDANT.AMADOR COUNTY SHERIFF'.S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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          1    PROPOUNDING PARTIES:                   Plaintiffs,. MARCIANO PLATA, et al.
          2    RESPONDING PARTY:                      Intervenor-Defendant, AMADOR COUNTY
          3                                           SHERIFF
      4        SET NUMBER:                            One (1)
      5                   TO ALL PARTIES AND•TO THEIR COUNSEL OF RECORD:
      6               Pursuantto Federal .Rules of Civil Procedure Rule 33, Intervenor-Defendant
      7        Amador County Sheriff       separately and fully responds to Plaintiffs'. First Set of
      8Interrogatories as follows'
     9                      Preliminary Statement and General Objections
   !0           1.    Intervenor-Defendant has not completed investigation ofthe facts relating
   11 to this case; has not completed discovery in this action and has not completed preparation
   12 for trial. Therefore, these responses, while based on diligent factual exploration, reflect
   13 only Intervenor-Defendant's cun'ent state of knowledge, understanding, and belief with
   14 regard to. the matters about which inquiry has been made. Intervenor-Defendant reserves
  15 the right to supplement these responses with subsequently obtained or disco;vered
  16 information. With regard to each interrogatory, .Intervenor-Defendant
                                                                                reserves
                                                                                         the right,
  17 notwithstanding these answers and responses, to employ at trial or in
                                                                              any pretrial
  18 proceeding herein information subsequently obtained or discovered, information the
 19 materiality of which is not presently ascertained, orinformation Intervenor-Defendant
 2O does not regard as coming within the scope of the interrogatories
                                                                          as Intervenor-Defendant
 21           understands them.
 22                  2.      These responses are made solely for the purpose.of this action. Each
 23           answer is subject to all objections as to. competence, relevance, materiality, propriety,.

 24           admissibility, privacy, privilege, and any and all other objections that would require.
 25           exclusion of any statement contained herein if any such interrogatories
                                                                                        were asked of, or
 26           any statement contained herein if any such interrogatories were asked of, or any
 27           statement contained herein were made by, a witness present and testifying in court, all of
 28           which objections and grounds are reserved and may be interposed at the time of trial.
                                                                -2-
               INTERvENoR-DEI-ENDANT AMADOR COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS'
                                                                                        FIRST.SET OF INTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                   Document 3434-8           Filed 12/23/08        Page 9 of 13



       1             Except for explicit facts admitted: herein, no incidental or implied
                       3.
    2 admissions are intended hereby:. Intervenor-Defendant's answers or objections to any
    3 interrogatory.are not an admission of any fact set forth or assumed by that interrogatory.
    4 In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any.
    5 interrogatory is not a waiver of part or all of any objection he might make to that
    6 interrogatory, or an admission that such answer or objection constitutes admissible
   7 evidence. Intervenor-Defendant asserts these objections without waivingor intendingto
      waive any objections as to competency, relevancy, materiality or privilege.
    9         4.     To the extent Intervenor-Defendant responds to these interrogatories, •the
  10 responses will not include information protected by the. right of privacy. .All objections
  11 on the. grounds of constitutionaland common law privacy rights are .expressly preserved.
 12           5o      Intervenor-Defendant objects to each and ev.ery Interrogatory to the extent
  13 that Plaintiffs are requesting information that is neither relevant to the subject matter of
  14 this action nor reasonably calculated to lead to the discovery of admissible evidence.
 15          6.      Intervenor-Defendant objects to the Interrogatories to the extent that they
 16 are vague and ambiguous and de not include adequate definition, specificity, or limiting
  17       factors.
  18                  7.     Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
  19       the term.,PERSON." The definition is vague,         ambiguous, and overbroad as used in thes•
 20        Interrogatories.
 21                Subject to and without waiving the foregoing objections, and incorporating them
 22        by reference into each of the responses provided below, Inter•enor,Defendant hereby
 23        responds as follows'
 24        INTERROGATORY NO. t:
 25                From January 1, 1995 until the present• have any limit(s) been in place, as the
 26        result of any lawsuit, on the number of people that can be housed in any. jail operated
 27        and/or maintained byYOU? If so:
 28                         (a)    State the name, .date and case number of every case which resulted

            INTERVENOR2DEFENDANT AMADOR COUNTYSHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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             any such limit(s)..
             RESPONSE TO INTERROGATORY NO. 1:
                      In addition to the General Objections stated above, Intervenor-Defendant objects.
             to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
             extent that it seeks information not relevant to thislitigation nor reasonably calculated to
        6    lead to the discovery of admissible evidence.
        7             Without waiving and subject tothe objections, Intervenor-Defendant responds that
        8   from January 1, 1995 until present, no limits have been in place on the number of people
       9    that can be housed in any jail operated and/or maintained by Intervenor-Defendant.
   !0       INTERROGATORY NO, 2:
   11                 In any instance, from January. 1, 1995 Until the present, in which .any limit(s) have
   12       been in place on the number of people that can be housed.in any jail operated and/or
  .13       maintained by YOU, whatmechanisms were used to comply with those limits?
   14                        (a)   Identify all DOCUMENTS which relate to YOUR answer.
   15                        (b)   Identify all PERSONS whom YOU believe or suspect have
   16       information to support YOUR answer.
   17       RESPONSE TO INTERROGATORYNO. 2:
  .18                 In addition to the General Objections stated above, Intervenor-Defendant objects
  19        to this interrogatory on the grounds that: iris vague,, ambiguous and overbroad; to the
  20        extent that it seeks information not relevant to this litigation nor reasonably calculated to
  21        lead to the discovery of admissible evidence.
  22                Without waiving and. subject to the objections, Interven6r-Defendant responds that
  23        it has utilized the accelerated release mechanism pursuant to Penal Code section 4024.1.
  24        Additionally, pursuant to Penal.Code section 3081, wherein successful candidates, are
  2:5       released from jail prior to their actual release date. Applicants must have served half of
  26        their sentence, less: any credit for time served, before then can apply for parole. This
  27.       early release enables them to return home to their families, to seek employment or
  28        continue their education.

             INTERVENOR-DEFENDANT AMADOR COL1NTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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                (a)      Penal Code sections 3081 and 4024:1; applications .and Orders.pursuant to
       .2                Penal Code Section 4024.1 for Accelerated Release of Certain County Jail
        3                Inmates to Relieve Overcrowding.
        4       (b) Lt, Vickie Stephens
        5   INTERROGATORY NO. 3:
        6           From January 1, 1995 until present, how many people have had their releases from
        7   any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
        8   on the number of people that can be housed in that jail?

        9                  (a) Identify alI DOCUMENTS which relate to YOUR answer.
   !0                      (b) Identify all PERSONS whom YOU believe or suspect have
   11       information.to support YOUR        answer.

   12       RESPONSE TO INTERROGATORY NO. 3:
   13                 In addition to the General Objections stated above, Intervenor-Defendant objects
   14       to this interrogatory on the grounds that it is vague,     ambiguous and overbroad; to the
   15       extentthat it seeks information not relevant to this litigation nor reasonably calculated to
   16       lead to the discovery of admissible evidence.
   17                 Without waiving and subject to the objections, Intervenor-Defendant responds as
   18       follows: 365
  19           (a) Jail Profile. Survey Early Release Recap 2003/2004/2005
  20           (b) Lt. Vickie Stephens
  21        INTERROGATORY NO. 4:
  22                  What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
  23        January 1, 1995 until present, in any county in which YOU. operate and/or maintain a
  24        jail?
  25                      (a) For each such program, describe the mission and/or purpose of the
  26        placement program.
  27                      (b) For each such program, identify what criteria are used to decide who
  28        may enter the program.

             INTERVENOR-DEFENDANT AMADOR COUNTY SHERIFF's RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                   Document 3434-8            Filed 12/23/08        Page 12 of 13



       1                    (c)    Identify all DOCUMENTS which relate to YOUR answer.
                            (d)    Identify all PERSONS whom YOU believe or suspect have
       3    information to support YOUR        answer.

       4   RESPONSE TO INTERROGATORY NO. 4:
       5            In addition to the General •Objections stated above, Intervenor-Defendant objects
           to this interrogatory   on   the groun:ds that it is vague, ambiguous and overbroad; to the
       7   extent that it seeks information not relevant to this litigation nor reasonably         calculated.to
           lead to the discovery of admissible evidence.
                    Without waiving and subject to the objections, Intervenor-Defendant responds as
  !0       follows:
  1i                Home Electronic Monitoring; Jail Work Program, Penal Code section 4024.2; Jail
  12       Work Program, Penal Code section 1208/1208(b).
  13             (a) Each program is designed to allow low level/low risk offenders to live in their
  14                 homes instead of the jail. This allows them contact with their children and
  15                 spouses and gives them the ability to continue employment and provide fortheir
  16                 families. Program participants attend court-ordered counseling sessions.
  t7             (b) Eligibility is based on the nature of offenses, criminal history, drug/alcohol
  18                 history, mental health history' probation history, work history, and other data.
  !9                 Applicants must score 24 points or lower on the National Institute of Corrections
  20                 Risk Assessment Survey Instrument.
  21             (c) Amador County Office of Sheriff-Coroner- Home Electronic Monitoring- What
  22                 Does It Take to Qualify for This Program?; Amador Sheriff's Office Home
  23                 Electronic Monitoring H.E.M. Risk Assessment Instrument; Amador County
  24                 Office of Sheriff-Coroner Jail Work Program (4024 PC) worksheet; and Amador
  25                 County Office o f Sheriff-Coroner Jail Work Program (1208/1208(b) PC)
  26                worksheet.
  27             (d) Lt. Vickie Stephens
  28       ///
                                                             -6-
             INTERVENOR-DEFENDANT AMADOR COUNTY SHERIFF's RESPONSES TO PLAIN•'IFFS' FIRST SET OF INTERROGATORIES
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        1   DATED:      April 11, 2008                    Respectfully submitted,
                                                          JONES & MAYER
       2
       3
                                                          By:
       4
       5                                                          Chief, and Corrections Intervenor-
                                                                  Defendants
       6
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            !NTERVENOR-DEFENDANT AMADOR COUNTY SHERIFFVS RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
